Case 2:18-cv-02217-SJO-FFM Document 43 Filed 04/18/18 Page 1 of 2 Page ID #:874



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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
     STORMY DANIELS a.k.a. PEGGY
12   PETERSON, an individual,
                                                   PLAINTIFF STEPHANIE
13                      Plaintiff,                 CLIFFORD’S NOTICE OF
14                                                 WITHDRAWAL OF EVIDENTIARY
           vs.
                                                   OBJECTIONS FILED AS DOCKET
15                                                 NO. 41
     DONALD J. TRUMP a.k.a. DAVID
16   DENNISON, and individual,
     ESSENTIAL CONSULTANTS, LLC, a
17   Delaware Limited Liability Company,
     MICHAEL COHEN and DOES 1
18   through 10, inclusive,
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                        Defendants.
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                        NOTICE OF WITHDRAWAL OF OBJECTIONS [Dkt No. 41]
Case 2:18-cv-02217-SJO-FFM Document 43 Filed 04/18/18 Page 2 of 2 Page ID #:875



 1         PLEASE TAKE NOTICE that Plaintiff Stephanie Clifford hereby withdraws her
 2   Objections to the Supplemental Declaration of Brent H. Blakely in Support of Joint Ex
 3   Parte Application of Defendants Essential Consultants, LLC, Donald J. Trump and
 4   Michael Cohen for a Stay of This Action filed as Docket No. 41. The filing was made in
 5   error. The corrected document has been filed as Docket No. 42.
 6
     Dated: April 18, 2018                AVENATTI & ASSOCIATES, APC
 7
                                          By:          /s/ Michael J. Avenatti
 8                                              Michael J. Avenatti
                                                Attorneys for Plaintiff Stephanie Clifford
 9                                              a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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                         NOTICE OF WITHDRAWAL OF OBJECTIONS [Dkt No. 41]
